                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

KRISTI CONSTANTINE,                              )
                                                 )
                       Plaintiff,                )
                                                 )
       v.                                        )           Case No. 6:18-cv-03282-RK
                                                 )
SIMMONS BANK, SUCCESSOR BY                       )
CONVERSION TO SIMMONS FIRST                      )
NATIONAL BANK, SUCCESSOR BY                      )
MERGER TO LIBERTY BANK, et al.                   )
                                                 )
                       Defendants.               )

                 SUGGESTIONS IN SUPPORT OF MOTION TO DISMISS

       Defendant Simmons First National Corporation (“SFNC”), in support of its

contemporaneously filed Motion to Dismiss all claims against it contained in Plaintiff’s First

Amended Complaint (the “Complaint”) (ECF No. 13), suggests as follows:

       I. STANDARD

       “Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a short and plain

statement of the claim showing that the pleader is entitled to relief.” Ashcroft v. Iqbal, 556 U.S.

662, 677-678 (2009) (internal quotation marks omitted). “The pleading standard Rule 8

announces does not require detailed factual allegations, but it demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Id. at 678 (internal quotation marks omitted).

“A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a

cause of action will not do.’” Id. “Nor does a complaint suffice if it tenders ‘naked assertions’

devoid of ‘further factual enhancement.’” Id. (internal editorial marks omitted).

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Id. (internal quotation

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marks omitted). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. “The plausibility standard… asks for more than a sheer possibility that a defendant

has acted unlawfully.” Id. “Where a complaint pleads facts that are ‘merely consistent with’ a

defendant's liability, it ‘stops short of the line between possibility and plausibility of entitlement

to relief.’” Id. “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. Further, the Court need not accept as true allegations

that merely state legal conclusions. See id. “[W]here the well-pleaded facts do not permit the

court to infer more than the mere possibility of misconduct, the complaint has alleged – but it has

not shown – that the pleader is entitled to relief.” Id. (internal quotation marks omitted). A

dismissal under Federal Rule of Civil Procedure 12(b)(6) is proper where there is either a “lack

of a cognizable legal theory” or “the absence of sufficient facts alleged under a cognizable legal

theory.” See Balisteri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1990).

       II. PLAINTIFF’S COMPLAINT ALLEGES NO FACTS UPON WHICH SFNC COULD BE
       HELD LIABLE

       Plaintiff’s Complaint purports to assert claims against SFNC arising out of a loan

Plaintiff had for her 2011 Ford Escape. At the same time, however, Plaintiff’s Complaint makes

identical allegations and claims against Defendant Simmons Bank, Successor by Conversion to

Simmons First National Bank, Successor by Merger to Liberty Bank (“Simmons Bank”).

       Plaintiff’s failure to differentiate between SFNC and Simmons Bank in her Complaint

necessarily establishes that her Complaint fails to satisfy Rule 8’s pleading requirements, such

that dismissal is appropriate. See Energizer Brands, LLC v. Procter & Gamble Co., No. 4:16-

CV-223 (CEJ), 2016 WL 2894708, at *2 (E.D.Mo. May 18, 2016) (dismissing undifferentiated

claims against two entities in a “group pleading” because such claims “do not satisfy Rule 8”)

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(quoting, e.g., City of Miami v. JPMorgan Chase & Co., No. 1:14-CV-22205-WPD, 2016 WL

1621632, at *3 (S.D. Fla. Mar. 18, 2016) (dismissing complaint that made undifferentiated

allegations against composite entity consisting of parent holding company, two affiliates, and

nine predecessor companies); Joseph v. Bernstein, No. 13-24355-CIV, 2014 WL 4101392, at *6

(S.D. Fla. Aug. 19, 2014) (finding Rule 8 violation where allegations indiscriminately lump all

defendants together).

       Moreover, Plaintiff’s inability to establish a factual claim against SFNC cannot be cured

through amendment, as SFNC is a holding company which had no dealings or interactions with

Plaintiff. See U.S. ex rel. Her v. Regions Financial Corp., No. 06-2178, 2008 WL 2370942, at *3

(W.D.Ark. June 3, 2008) (dismissing claims against Regions Financial Corporation, as it was a

“bank holding company” that had no involvement in the loans at issue).

       Based on the foregoing, all claims against SFNC in Plaintiff’s First Amended Complaint

should be dismissed.

       WHEREFORE, Defendant Simmons First National Corporation (“SFNC”) moves the

Court to dismiss all claims against it contained in Plaintiff’s First Amended Complaint (ECF No.

13, and granting SFNC such other and further relief as the Court deems just and proper.


                                            Respectfully submitted,

                                                    /s/ Jason C. Smith
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 9th day of October, 2018, the foregoing
instrument was filed with the Clerk of the Court using the ECF System, which sent notice of
such filing to the following:

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                                                  /s/   Jason C. Smith




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